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               DOCUMENT 12
            PUBLIC VERSION
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           EXHIBIT 18
 EXHIBIT FILED UNDER SEAL
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Date:          Sunday, JUiy 10 2022 07:26 PM
Subject:       RE: Comms update for PIF/HE
From:          Kerri Edwards
               Atul Khosla.::                       >: Jane MacNeille <                        >: Jonathan
To:
               <                        >;
Attachments: Press Coverage.pptx

l built th is slide With Ross's help in April. Sharing for ideas around how to present data.


--Original Mcssage---
Frorn: Anil Khosla <                            >
Sent: Sunday, July 10, 2022 12:06 PM
To: Jane MacNeille ~                                    >; Jonathan <                          >
Cc: Kerri Edwards <                                 >
Subject: Comms update for PfF/HE

Need to show HE how we have looked to change the nanati ve - I am tryi ng to think how best we can provide
update/screen shot of key articles, what we have in the works, chatter on social?

Open to ideas but i need to get him comfortable that we a.re moving things in the right direction

AK

President & Chief Operating Officc.:r
LN Golf Investments
                                               Case 5:22-cv-04486-BLF Document 499-14 Filed 09/07/23 Page 4 of 4




                                                                                                                                                           , -PIFinternal-use-~
                                                                                                                                                           ' -----Only- - - __ ,

     LIV Golf's Recent Press Coverage
                                                               Overview                                                                 Recent Headlines
•   The last month (from our launch announcement to date) has seen 13.2K original articles and posts from on line media   •   6-Apr-22 The PGA's China Problem (RealClear
    and social media channels that feature or reference UV Golf                                                               Policy)
•   Peak at launch announcement (1), reference around Mickelson not at Masters (2), Ttger speculation (3), Masters        •   11-Mar-22 The PGA Tour's Subpar treatment of
    coverage (4a and 4b}, and player announcement speculation (5)                                                             professional golfers (The Washington Ttmes)
    - Sentiment from the 13.2K posts is predominately neutral in its tone (neutral- 77.9%, positive-12.5%, negative       •   3-Feb-22 Is the PGA Handicapping
        - 9.6%).                                                                                                              Competition? (RealClear Markets)
    - Commentary has been factual, at time speculative but in the main mainly accurate.                                   •   2-Feb-22 How Long Will the PGA Handicap Its
•   The 13.2K posts have generated 151.3K engagements (likes, Retweets, Comments etc.).                                       Golfers? (Forbes)
    - Sentiment of these engagements has been mainly neutral (neutral - 87.2%, positive - 9.1%, negative - 3.7%)          •   25-Jan-22 Most exciting golf TV ever': Greg
                                                                                                                              Norman's rumored tour is talking a big game

                                          Results Over Time by Sentiment                                                      (Golf.cow)
                                                                                                                                     ~ti are
                                                                                                                                               b M d' T,
                                                                                                                                               y e 1a ,ypes
              (1}




                                    (2)                                                       (4a)
                                                                                                               (5)
                                                                              (3)                      (4b)

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                          Source Ptblic Meda
